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                         UNITED STATES DISTRICT COURT
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                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   VALERIE BROOKS, individually            Case No.: 2:20-cv-01483-JAM-JDP
12   and on behalf of all others similarly
     situated,                               CLASS ACTION
13
14                         Plaintiff,        Honorable John A. Mendez

15         v.                                ORDER STIPULATION OF
16                                           DISMISSAL OF CASE WITH
     GIORGIO ARMANI                          PREJUDICE
17   CORPORATION, d.b.a. ARMANI
18   EXCHANGE, a New York
     Corporation; and DOES 1 to 10,
19   inclusive,                              Complaint Filed: 07/22/2020
                                             Trial Date:      None Set
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21                         Defendants.
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                 ORDER STIPULATION OF DISMISSAL OF CASE WITH PREJUDICE
         Case 2:20-cv-01483-JAM-JDP Document 15 Filed 03/16/22 Page 2 of 2


1          IT IS HEREBY ORDERED THAT, good cause showing, Plaintiff Valerie
2    Brooks and Defendant Giorgio Armani Corporation d.b.a. Armani Exchanges’ joint
3    request that this Court enter a dismissal with prejudice as to Plaintiff’s individual
4    claims in their entirety and without prejudice as to the claims of absent putative
5    class members in the above-entitled action, is GRANTED in full. Each party shall
6    bear her or its own costs, experts’ fees, and attorneys’ expenses.
7          IT IS SO ORDERED.
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10   DATED: March 15, 2022             /s/ John A. Mendez
                                       THE HONORABLE JOHN A. MENDEZ
11
                                       UNITED STATES DISTRICT COURT JUDGE
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               ORDER GRANTING JOINT MOTION FOR DISMISSAL WITH PREJUDICE
